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IN THE UNITED STATES DISTRIET COURT
FOR THE DISTRICT. OF MARYLAND

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UNITED STATES OF AMERICA oes
BY # DE PUT
v. * CRIMINAL NoDKC+ q-021 3
*
DAMON DELOATCH, * (Possession with Intent to Distribute
* — Fentanyl Analogue, 21.U.S.C. § 841;
Defendant. * Possession with Intent to Distribute
, * Fentanyl Analogue and Cocaine Base,
* 21 U.S.C. § 841; Forfeiture, 21 U.S.C. §
* $53)
*
INDICTMENT
COUNT ONE

(Possession with Intent to Distribute Fentanyl] Analogue}
The Grand Jury for the District of Maryland charges that:
On or about January 16, 2019, in the District of Maryland, the defendant,
DAMON DELOATCH,
did knowingly and intentionally possess with the intent to distribute 10 grams or more of a mixture
or substance containing a detectable amount of the fentanyl analogue 4-Anilino-N-
phenethylpiperidine, commonly known as “acetyl fentanyl,” a Schedule I controlled substance.

21 U.S.C. § 841(a)
21 U.S.C. § 841(b)(1)(B)
COUNT TWO
(Possession with Intent to Distribute Fentanyl] Analogue and Cocaine Base)

The Grand Jury for the District of Maryland further charges that:
On or about January 16, 2019, in the District of Maryland, the defendant,
DAMON DELOATCH,

did knowingly and intentionally possess with the intent to distribute 100 grams or more of a
mixture or substance containing a detectable amount of the fentanyl analogue 4-Anilino-N-
phenethylpiperidine, commonly known as “acetyl fentanyl,” a Schedule I controlled substance,
and a mixture or substance containing a detectable amount of cocaine base, a Schedule II controlled
substance.

21 U.S.C. § 841 (a)
21 U.S.C. § 841(b)(1)(A)
FORFEITURE ALLEGATIONS

The Grand Jury further finds that:

1. Pursuant to Title 21, United States Code, Section 853, upon conviction of an
offense in violation of 21 U.S.C. § 841, as set forth in Count One and Count Two, the defendant
shall forfeit to the United States of America:

a. any property constituting, or derived from, any proceeds obtained, directly
or indirectly, as the result of such violation: and
b. any property used or intended to be used, in any manner or part, to commit,
or to facilitate the commission of, such violation,
including but not limited to approximately $1,143 in US. currency and approximately $1,204 in

U.S. currency seized from the defendant on January 16, 2019.

2. If any of the property described above, as a result of any act or omission of the
defendant:
a. cannot be located upon the exercise of due diligence;
b. has been transferred or sold to, or deposited with, a third party;
c. has been placed beyond the jurisdiction of the court;
d. has been substantially diminished in value; or
e. has been commingled with other property which cannot be divided without
difficulty,

the United States of America will be entitled to the forfeiture of substitute property pursuant to 21

U.S.C. § 853(p).
Licht 7 MAS,

United States Attorney

SIGNATURE REDACTED

 

-Foreperson

Date: 5130/19
